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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 v.                                            Crim. Action No. 1:21CR508-02

 LANDON BRYCE MITCHELL,

                       Defendant.



 MR. MITCHELL’S MOTION TO APPEAR BY VIDEO-TELECONFERENCE
        AT THE PRE-TRIAL RELEASE VIOLATION HEARING

         Landon Mitchell, through undersigned counsel, hereby moves this Court to

permit him to appear by video-teleconference at the pre-trial release violation hearing

that was scheduled today for Friday, January 24, 2023. Due to the short notice and

Mr. Mitchell’s indigent status, he cannot afford to purchase a ticket to travel to this

district from Houston by January 27, 2023. In support of this Motion, counsel states:

      1. Mr. Mitchell has previously been determined to be financially unable to obtain

         retained counsel and to qualify for court appointed counsel. Accordingly, the

         Office of the Federal Public Defender has been appointed to represent Mr.

         Mitchell.

      2. Mr. Mitchell has since never failed to appear to any court date. On November

         8, 2022, Mr. Mitchell appeared via video-teleconference for a hearing regarding

         pretrial release. On December 1, 2022, he flew to the district in order to attend

         the stipulated trial, originally scheduled on December 2, 2022. After he arrived

         in the district, the stipulated trial was continued to December 7, 2022. Mr.
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   Mitchell then changed his flight and remained in the district so that he could

   attend the stipulated trial. Mr. Mitchell cleaned out his bank account for these

   tickets. He has no cash, savings, or credit card with which to purchase a ticket

   to arrive in the district by January 27, 2023.

3. As this Court is aware, Mr. Mitchell was recently detained pursuant to a state

   court drug charge in Montgomery County, Texas. On January 23, 2023, that

   case was dismissed and Mr. Mitchell was released from custody. While he was

   detained, he lost his hourly-wage job and earned no income.

4. Mr. Mitchell contacted his pre-trial services officer as soon as he was released

   from custody.

5. On January 24, 2023, the Court scheduled a violation hearing for January 27,

   2023, at 9:30 a.m. Mr. Mitchell is aware of the hearing. As soon as counsel

   notified him of the hearing, he attempted to make arrangements to travel to

   the district. Unfortunately, however, Mr. Mitchell cannot afford to travel to the

   district on such short notice. As such, he respectfully moves the Court to permit

   him to appear by video-teleconference.

6. Alternatively, Mr. Mitchell asks the Court to order the United States Marshal

   to make one-way transportation arrangements to bring Mr. Mitchell from his

   home in Texas to the District of Columbia for the hearing on January 27, 2023

   pursuant to 18 U.S.C. § 4285. To the extent the Court is concerned that Mr.

   Mitchell was able to afford to travel to the District of Columbia on January 6,




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      2021, Mr. Mitchell lived in northern Virginia at the time and did not have to

      purchase a plane ticket.

   Wherefore the reasons herein and any others that appear to the Court, Mr.

Mitchell, through counsel, respectfully moves the Court to permit him to appear at

his January 27 violation hearing by video-teleconference or require the United States

Marshal to arrange for transportation. Counsel contacted the government prior to

filing this motion and the government takes no position.

                                       Respectfully Submitted,
                                       A. J. KRAMER
                                       FEDERAL PUBLIC DEFENDER

                                       _______/s/______________________
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